 1   Charles P. Maher, State Bar No. 124748
     RINCON LAW, LLP
 2   200 California Street, Suite 400
     San Francisco, CA 94111
 3   Telephone No.: 415-840-4199
     Facsimile No.: 415-680-1712
 4   Email: cmaher@rinconlawllp.com

 5   Counsel for Andrea A. Wirum,
     Chapter 11 Trustee
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 8                              UNITED STATES BANKRUPTCY COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                       SANTA ROSA DIVISION

11   In re                                                Case No. 17-10067 RLE
             SVP,                                         Chapter 11
12                                                        Hon. Roger L. Efremsky
                     Debtor.
13

14
                                        OBJECTION TO CLAIMS
15

16           Andrea A. Wirum, Chapter 11 Trustee of the estate of the above Debtor, hereby objects to

17   claims filed against the above Debtor by Stephen A. Finn and Winery Rehabilitation, LLC.

18   I.      INTRODUCTION

19           The above Debtor’s case and the case of SVC were jointly administered by order dated

20   March 13, 2017. As the earlier filed case, the SVC case has been the lead case and all proofs of

21   claim except one tax claim have been filed under the SVC case number regardless of the debtor

22   against which the claim was asserted. Winery Rehabilitation, LLC (“WR”) filed Claim No. 11

23   against SVP and Claim No. 12 against SVC. Stephen A. Finn filed Claim No. 13 against SVP and

24   Claim No. 14 against SVC. The claims were most recently amended on September 11, 2018 (Claims

25   11-2 and 13-3). Authentic copies of the first pages of Claims 11-2 and 13-3 are attached as Exhibits

26   A and B, respectively. WR is controlled by Mr. Finn.

27           Joint administration of the estates was severed by order dated August 26, 2019.

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 1   II.    PERTINENT FACTS

 2          The debtors-in-possession filed a complaint (the “Adversary Proceeding”) in the Bankruptcy

 3   Court against Mr. Finn and Angelica DeVere (a former SVC employee) on July 14, 2017, seeking

 4   the following relief: (a) disallowance of their claims in both bankruptcy cases and (b) damages to

 5   both entities caused by Mr. Finn’s and Ms. DeVere’s alleged misconduct in management of the two

 6   debtors and other misconduct. WR was not named as a defendant.

 7          Approximately one month later, Timothy W. Hoffman was appointed Chapter 11 trustee of

 8   both estates and became sole representative of each estate and the real party-in-interest in the
 9   Adversary Proceeding.
10          On October 6, 2017, two of five SVP general partners, Kelleen Sullivan and Ross Sullivan,
11   filed a complaint against Mr. Finn and Trust Company of America, an entity Mr. Finn controlled,
12   in the United States District Court for the Northern District of California (the “District Court
13   Action”) by which they as individuals sought damages for alleged misconduct caused by Mr. Finn
14   and Trust Company of America. WR was not named as a defendant.
15          On January 10, 2018, Mr. Hoffman completed the sale of most of the assets of both estates
16   and paid Mr. Finn’s secured claim for principal, interest, other charges, and attorney fees and WR’s
17   secured claim for principal, interest, other charges, and attorney fees. Except for the Adversary
18   Proceeding, payment on the Finn and WR payoff demands should have ended the relationship of

19   the debtors with Mr. Finn and WR.

20          In March 2018, Kelleen Sullivan and Ross Sullivan, acting on their own behalf, filed

21   objections to the existing claims of Mr. Finn and WR. Those claim objections were resolved in part

22   by recognition of the payments to Mr. Finn and WR made from escrow. However, objections to

23   other aspects of Mr. Finn’s and WR’s claims remain pending.

24          In September 2018, Mr. Finn and Ms. DeVere brought a summary judgment motion in the

25   Adversary Proceeding. The Bankruptcy Court did not rule on the motion; it transferred the

26   Adversary Proceeding to the District Court and it was assigned to the Honorable William Orrick

27   who was presiding over the District Court Action and who had been involved in another action

28   brought by Mr. Finn against Joanna Sullivan.

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 1          In March 2019, Mr. Hoffman, Ms. DeVere, other former employees, WR, and Mr. Finn

 2   reached a compromise of the estate’s claims against Mr. Finn and Ms. DeVere, and the claims of

 3   Ms. DeVere and the other employees against the two estates. The compromise was approved by the

 4   Bankruptcy Court by order dated May 20, 2019. Mr. Hoffman dismissed the Adversary Proceeding

 5   against Mr. Finn and Ms. DeVere with prejudice. The settlement agreement provided that (a) Mr.

 6   Finn’s and WR’s claims in the two bankruptcy cases “are [not] being liquidated or resolved” by the

 7   settlement agreement and (b) the parties to the agreement “shall bear their own costs, expenses and

 8   attorneys’ fees incurred in connection with the Napa County Action [i.e., involving the employees],
 9   Adversary Proceeding, District Court Action and the Bankruptcy Cases, and the negotiation,
10   preparation and application for Bankruptcy Court approval of this Agreement.”
11          In July 2019, Mr. Finn and Trust Company of America brought a motion for judgment on
12   the pleadings in the District Court Action. On September 6, 2019, the District Court granted that
13   motion with leave for Kelleen Sullivan and Ross Sullivan to file an amended complaint. They filed
14   an amended complaint. Mr. Finn and Trust Company of America filed a second motion for
15   judgment on the pleadings, which Kelleen Sullivan and Ross Sullivan have opposed. A hearing is
16   scheduled for November 20, 2019.
17   III.   TRUSTEE’S OBJECTION
18          The Trustee’s objections are to Claim No. 11 and Claim No. 13 against SVP as amended or

19   to be amended. There is no intent on the part of the Trustee for her objection to pertain to the claims

20   filed against SVC by WR and Mr. Finn or to claims among SVP’s individual partners.

21          When Claim Nos. 11 and 13 were filed, they were based on amounts due under two

22   promissory notes executed by SVP and SVC. The underlying principal amounts due with interest,

23   attorney fees, and other charges to date were paid from escrow on or about January 10, 2018, in

24   connection with the sale by the Chapter 11 trustee of the jointly administered estates of most of the

25   assets of the estates. The Trustee is aware that the payoff demands submitted by WR and Mr. Finn

26   may not have included attorney fee charges between December 1, 2017, and January 10, 2018. It is

27   the Trustee’s position that those fees and charges have been waived.

28          The stated basis for WR’s amended Claim No. 11-2 filed on September 11, 2018 is that: (a)

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 1   WR is entitled to reimbursement of attorney fees and expenses in connection with claims asserted

 2   against WR arising from or relating to the underlying loan agreement under Siegel v. Fed. Home

 3   Loan Mortg. Corp., 143 F 3d. 525, 528-29 (9th Cir. 1998) and (b) WR is entitled to attorney fees

 4   and expenses in connection with defense against the Adversary Proceeding brought by the debtors-

 5   in-possession, the District Court action brought against WR by Kelleen Sullivan and Ross Sullivan,

 6   and the claim objection filed by Ross Sullivan and Kelleen Sullivan.

 7          The stated basis for Mr. Finn’s amended claim 13-3 filed on September 11, 2018, is that (a)

 8   Mr. Finn asserts that he is entitled to attorney fees and expenses in connection with his defense
 9   against the Adversary Proceeding brought by the debtors-in-possession, the District Court action
10   brought by Ross Sullivan and Kelleen Sullivan, and the claim objection filed by Ross Sullivan and
11   Kelleen Sullivan. Mr. Finn does not mention the Siegel case but the Trustee assumes for purposes
12   of this objection that he will assert that the Siegel case is authority for his recovery of defense costs
13   from the partnership.
14          The Trustee is aware that the amended WR and Finn claims are subject to further amendment
15   to increase the amounts requested. The amounts in the amended claims on file were liquidated as
16   of August 30, 2018.
17          A.      The Settlement Agreement Extinguished Any Right of Recovery of Attorney
18          Fees, Costs, and Expenses from the Estate

19          The first and most obvious ground for the Trustee’s objection is the settlement agreement

20   by which Mr. Finn and WR agreed to bear their own “costs, expenses and attorneys’ fees in

21   connection with the Napa County Action, the Adversary Proceeding, the District Court Action and

22   the Bankruptcy Cases, and the negotiation, preparation and application for Bankruptcy Court

23   approval of this Agreement.”       Unless Mr. Finn and WR can show that this provision of the

24   agreement has no meaning and that the Bankruptcy Court’s approval of the settlement with this

25   provision in the agreement is of no importance, their claims should be disallowed in their entirety.

26          If Mr. Finn and WR manage to persuade the Court that it should consider the claims on the

27   merits, the Trustee has substantive objections.

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 1          B.      The Siegel Case Provides Only Limited Relief if it is Applicable

 2          The Trustee objects to the WR and Finn claims against SVP on the grounds that the Siegel

 3   case does not apply to their claims with a limited exception for Mr. Finn only. SVP and its estate

 4   did not “return to the fray” as the Siegel case and subsequent cases require. The limited exception

 5   is fees and expenses incurred by Mr. Finn only in the Adversary Proceeding between January 10,

 6   2018, and May 20, 2019. January 10, 2018, is the date on which the sale of assets closed; May 20,

 7   2019, is the date on which the Bankruptcy Court approved the settlement of the Adversary

 8   Proceeding.
 9          Unlike the Adversary Proceeding which was commenced by the two debtors-in-possession,
10   the other litigation for which Mr. Finn and WR seek fee and expense reimbursement has been driven
11   by two of SVP’s five general partners, not by the SVP estate. Those two partners (a) filed the District
12   Court Action against Mr. Finn and Trust Company of America for damage to them personally and
13   (b) filed objections to the claims of WR and Mr. Finn. The two partners have taken other actions
14   that have required response or other action by Mr. Finn’s and WR’s counsel. The two partners had
15   and have no control over the bankruptcy estate and have taken actions on their own for their own
16   benefit. The distinction between the bankruptcy estate and the two general partners has been the
17   foundation of Mr. Finn’s argument that the claims of the two general partners are derivative claims
18   that were owned by SVP and released by Mr. Hoffman. Mr. Finn and WR cannot argue that (a) the

19   two general partners do not have standing to assert derivative claims that were owned by the estate

20   and were settled by Mr. Hoffman, and (b) if the two general partners do assert those claims, the

21   estate is liable for the fees and expenses Mr. Finn and WR incur in responding to them.

22          Mr. Finn and WR will have to live with the positions they have taken in the District Court

23   and in this Court. At most, Siegel can apply only to reasonable fees and expenses Mr. Finn incurred

24   in defense of the Adversary Proceeding between January 10, 2018 (the date on which the underlying

25   debt to Mr. Finn and WR was paid) and May 20, 2019, the date on which the settlement agreement

26   with Mr. Hoffman was approved. Siegel has no applicability to any component of WR’s claim or

27   any of Mr. Finn’s other claims.

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 1           C.     The Trustee’s Objection Should Be Sustained

 2           Based on Mr. Finn’s and WR’s execution of the settlement agreement and approval of the

 3   agreement by the Bankruptcy Court, their claims are unenforceable under applicable law under any

 4   theory and should be disallowed in their entirety under 11 U.S.C. § 502(b)(1) in the SVP bankruptcy

 5   case.

 6           If Mr. Finn has a Siegel claim, it is limited to the fees and expenses he alone incurred in the

 7   defense of the Adversary Proceeding during the time period identified above. To the extent Mr. Finn

 8   seeks to recover fees on any other matter and to the extent WR seeks to recover anything, the claims
 9   are unenforceable under applicable law and should be disallowed under 11 U.S.C.
10   § 502(b)(1) in the SVP bankruptcy case.
11
     DATED: November 27, 2019              RINCON LAW, LLP
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13
                                           By: /s/Charles P. Maher
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                                               Charles P. Maher
15                                             Counsel for Andrea A. Wirum,
                                               Chapter 11 Trustee of the SVP estate
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